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                                            IRELL & MANELLA                                  LLP
                                                  A REGISTERED LIMITED LIABILITY LAW PARTNERSHIP
                                                      INCLUDING PROFESSIONAL CORPORATIONS

840 NEWPORT CENTER DRIVE, SUITE 400           18 0 0 AV E N U E O F T H E S TA R S , S U I T E 9 0 0
                                                                                                          TELEPHONE (310) 277-1010
     NEWPORT BEACH, CA    92660
     TEL EPHONE (949) 760- 0991                 LOS ANGELES, CALIFORNIA 90067                              FACSIMILE (310) 203-7199
      FACSIMILE (949) 760- 5200                                                                             WEBSITE:           w ww . irel l .c om

   750 17TH STREET NW, SUITE 850                                                                                  WRITER'S DIRECT
      WASHINGTON, DC    20006                                                                                TELEPHONE ( 310) 203 -7937
     TEL EPHONE (202) 777- 6500                                                                              FACSIM ILE ( 310) 203 -7199
                                                                                                                 b hatt enb ac h@ i re l l.c om

                                                            January 19, 2024



               Hon. Andrew L. Carter Jr.                                                      FILED UNDER SEAL
               Thurgood Marshall United States Courthouse
               40 Foley Square
               New York, NY 10007

                          Re:      Adeia Guides Inc. et al. v. Shaw Cablesystems G.P. et al.,
                                   Case No.: 1:23-cv-08796-ALC
                                   Opposition to Shaw’s Pre-Motion Letter

               Dear Judge Carter:

                       We represent plaintiffs Adeia Guides Inc., Adeia Media Solutions Inc., and Adeia
               Media Holdings LLC (collectively, “Adeia”) in the above-referenced action. Pursuant to Your
               Honor’s Individual Practices, Adeia submits this letter in response to the pre-motion letter
               filed by Defendants Shaw Cablesystems G.P. and Shaw Satellite G.P. (collectively, “Shaw”)
               regarding Shaw’s proposed motion to dismiss. Shaw’s anticipated motion is not a proper
               attack on a pleading and is meritless.

               I.         Adeia Has Adequately Alleged Breach of Contract

                       Adeia has adequately alleged breach of contract. “To state a claim in federal court for
               breach of contract under New York law, a complaint need only allege (1) the existence of an
               agreement, (2) adequate performance of the contract by the plaintiff, (3) breach of contract by
               the defendant, and (4) damages.” Harsco Corp. v. Segui, 91 F.3d 337, 348 (2d Cir. 1996); see
               also Ellington Credit Fund, Ltd. v. Select Portfolio Servicing, Inc., 837 F. Supp. 2d 162, 188-
               89 (S.D.N.Y. 2011). Adeia has sufficiently pleaded all four elements: Existence of an
               agreement: Adeia pleaded, and Shaw does not dispute, that the parties entered into a license
               agreement (the “Agreement”) with an expiration date of December 31, 2025. Compl. ¶ 10.
               Adequate performance: Adeia pleaded that it “has performed all of its obligations under the
               Agreement.” Id. ¶ 21. Shaw does not contend this element is insufficiently pleaded. Breach
               by the defendant: As Shaw acknowledges, Adeia has pleaded breach of contract based on
               Shaw’s “fail[ure] to report and pay for additional subscribers” and failure to “pay[] royalties.”
               ECF No. 21 at 1; see also Compl. ¶ 23. Damages: Adeia has alleged that Shaw ceased paying
               required royalties under the contract, Compl. ¶ 22, and that, “[a]s a direct and proximate result
               of Shaw’s actions,” it “has suffered and will continue to suffer damages, already in the
               millions of dollars and growing.” Id. ¶ 24.

                       Adeia’s allegations are more than sufficient to satisfy Rule 8. Fed. R. Civ. P. 8(a)
               (requiring “a short and plain statement of the claim showing that the pleader is entitled to
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           relief”). Shaw argues that Adeia has not properly pleaded damages. But in the case Shaw
           cites, the plaintiff asked to be employed for a period, was paid for that period, but still
           inexplicably (and, as the court held, nonsensically) claimed “damage” for having to work
           during that period. Int’l Bus. Machs. Corp. v. Dale, No. 7:11-CV-951 (VB), 2011 WL
           4012399, at *2-3 (S.D.N.Y. Sept. 9, 2011). In contrast here, Adeia has pleaded a failure to
           pay owed royalties that already amount to millions of dollars (and continue to accrue). That
           is more than sufficient under the Federal Rules. See, e.g., Tech. Opportunity Grp., Ltd. v.
           BCN Telecom, Inc., No. 16-CV-9576 (KMK), 2019 WL 4688628, at *11 (S.D.N.Y. Sept. 25,
           2019) (allegations sufficient because “plaintiff alleges that [defendant] ‘breached the
           [contract] by its failure to pay amounts due and owing to [plaintiff] under the [contract]’ for
           services performed, and identifies its damages as at least $75,000”); LivePerson, Inc. v. 24/7
           Customer, Inc., 83 F. Supp. 3d 501, 516 (S.D.N.Y. 2015) (“While plaintiff does not . . .
           estimate damages beyond the assertion that they are substantially greater than the federal
           amount-in-controversy requirement, the [complaint] provides adequate notice to the
           Defendant on the issue of damages”). Similarly, Shaw attacks one part of the damages
           component of Adeia’s breach of contract claim (i.e., the royalties owed for Rogers
           subscribers), but a breach of contract claim cannot be challenged under Rule 12(b)(6) based
           on an assertion that part of the claimed damages are supposedly not recoverable. See, e.g.,
           Martell Strategic Funding, LLC v. Am. Hosp. Acad., No. 12-CV-0627 (ALC), 2013 WL
           12562179, at *4 (S.D.N.Y. Sept. 4, 2013) (“To the extent Plaintiff has not alleged damages
           with certainty or accuracy, there is no basis to dismiss Plaintiff’s claim” because under New
           York law, “whenever there is a breach of a contract . . . the law infers some damage.” (citation
           omitted)); see also JTRE Manhattan Ave. LLC v. Cap. One, N.A., 585 F. Supp. 3d 474, 482
           (S.D.N.Y. 2022) (“[S]tating some form of damages is all that is required to plead a prima facie
           claim for breach of contract.”); In re New York Internet Co., Inc., 2018 WL 1792235, at *11
           (Bankr. S.D.N.Y. Apr. 13, 2018) (denying in part motion to dismiss where plaintiff
           “sufficiently plead [sic] the existence of at least one continuing payment obligation . . . and
           perhaps two more”).

           II.         Shaw’s “Termination” Arguments Cannot Serve as a Basis for Its Motion to
                       Dismiss and Are in Any Event Without Merit

                   Because it cannot challenge Adeia’s pleadings of the actual elements of a breach of
           contract claim, Shaw tries to use the pre-motion letter (and motion to dismiss) process to
           interject one of its intended defenses, and then to litigate that defense under the guise of a
           pleading challenge to the complaint. Shaw argues, in essence, that certain events have
           transpired that entitle Shaw to terminate the contract. However, that is not a proper pleading
           challenge to the complaint. See Abbas v. Dixon, 480 F.3d 636, 640 (2d Cir. 2007) (“The
           pleading requirements in the Federal Rules of Civil Procedure, however, do not compel a
           litigant to anticipate potential affirmative defenses . . . and to affirmatively plead facts in
           avoidance of such defenses.”). “The termination of a contract is not presumed, and the burden
           of establishing it rests upon the party who asserts it,” i.e., Shaw. Armour & Co. v. Celic, 294
           F.2d 432, 436 (2d Cir. 1961).
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                    Shaw’s proffered authority does not hold otherwise. In Jill Stuart (Asia) LLC v. Sanei
           Int’l Co., 548 F. App’x 20, 22 (2d Cir. 2013), an unreported and non-precedential opinion, the
           plaintiff pleaded itself out of a case. The plaintiff’s own complaint demonstrated on its face
           that it had breached the contract that the plaintiff accused the defendant of breaching, thereby
           entitling defendant to terminate the contract. Id. at 20-21. Shaw points to nothing in the
           complaint that pleads Adeia out of its own case. In PRCM Advisers LLC v. Two Harbors Inv.
           Corp., another unreported opinion, the plaintiff’s claim was for wrongful termination of a
           contract, but the plaintiff failed to plead any facts that would show the termination was
           wrongful. No. 20-CV-5649 (LAK), 2021 WL 2582132, at *6 (S.D.N.Y. June 23, 2021). But
           Adeia’s claim is not for wrongful termination, and the complaint here alleges the contract at
           issue is fully operative until December 31, 2025. Compl. ¶ 10. It is Shaw who apparently
           intends to defend this case by arguing that it has a right to terminate the contract. But that is
           a defense; it is not an argument that can be summarily accepted at this stage to defeat a
           properly pleaded claim for breach of contract for failure to pay royalties.

                   In addition to being an improper challenge to a pleading, Shaw’s termination assertion
           is also meritless. For instance, Shaw contends that, because



          •   was not a representation that patents would never expire (all patents eventually expire); I

           couple of cases
                                                                             Similarly, Shaw points to a

                                                                                     And even as to the
                      that Shaw for some reason myopically focuses on, Shaw fails to mention that
                                                                 See Agreement § 3.3


                                                                                              (emphasis
           added)). And Shaw says nothing of
           (numerous of which are plainly applicable under Section 3.3, one of the provisions that Shaw
           is purporting to invoke in its defense of termination of the license).

                   Shaw also cites Brulotte v. Thys Co., 379 U.S. 29 (1964), and argues that the rule it
           sets forth is still the law. But Brulotte simply held that a licensor cannot extract royalties on
           a license to use a machine after all of the patents incorporated into that machine have expired.
           And the very case that Shaw cites as “upholding” Brulotte makes clear that Brulotte’s rule
           does not bar “a licensing agreement cover[ing] . . . multiple patents . . . [with] royalties . . .
           run[ning] until the latest-running patent covered in the parties’ agreement expires.” Kimble
           v. Marvel Entm’t LLC, 576 U.S. 446, 454 (2015) (citing Brulotte, 379 U.S. at 30). Here, it is
           undisputed that                                                             , and Brulotte is thus
           inapplicable.

                  In any event, the Court need not delve into the lack of merits of Shaw’s proposed
           termination defense, as that is not the proper role of a motion to dismiss a complaint.
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                                                           Respectfully submitted,




                                                          IRELL & MANELLA LLP
                                                          Benjamin Hattenbach
                                                          Email: bhattenbach@irelI.com
                                                          1800 Avenue of the Stars
                                                          Los Angeles, CA 90067
                                                          Telephone: (310) 277-10 I 0
                                                          Facsimile: (310) 203-7199

                                                         A. Matthew Ashley
                                                         Email: mashley@irell.com
                                                         Jie Gao
                                                         Email: jgao@irell.com
                                                         840 Newport Center Drive, Suite 400
                                                         Newport Beach, CA 92660
                                                         Telephone: (949) 760-0991
                                                         Facsimile: (949) 760-5200

                                                         SHAPIRO ARA TO BACH LLP
                                                         Jonathan P. Bach
                                                         Email: j bach@shapiroarato.com
                                                         Bronwyn C. Roantree
                                                         Email: broantree@shapiroarato.com
                                                         I 140 A venue of the Americas, 17th FL.
                                                         New York, NY 10036
                                                         Telephone: (212) 257-4880
    cc: All Counsel of Record
